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B1 (Official Form 1)(04/13)
                                                                                 Document     Page 1 of 71
                                                  United States Bankruptcy Court
                                                              Northern District of Illinois                                                                           Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
  Ludeman, Garth H.                                                                                               Ludeman, Megan R.


All Other Names used by the Debtor in the last 8 years                                                         All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                    (include married, maiden, and trade names):
                                                                                                                  FKA Megan R. Turuc; FKA Megan R. Smith



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                                  Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                                  (if more than one, state all)
  xxx-xx-7331                                                                                                     xxx-xx-5819
Street Address of Debtor (No. and Street, City, and State):                                                    Street Address of Joint Debtor (No. and Street, City, and State):
  220 S. Roselle Rd.                                                                                             220 S. Roselle Rd.
  Apt. 408                                                                                                       Apt. 408
  Schaumburg, IL                                                                              ZIP Code           Schaumburg, IL                                                               ZIP Code
                                                                                            60193                                                                                         60193
County of Residence or of the Principal Place of Business:                                                     County of Residence or of the Principal Place of Business:
  Cook                                                                                                            Cook
Mailing Address of Debtor (if different from street address):                                                  Mailing Address of Joint Debtor (if different from street address):


                                                                                              ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                          Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                                  (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                               Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                             Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                               Chapter 9
     Corporation (includes LLC and LLP)                                in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                               Chapter 11
     Partnership                                                       Railroad
                                                                                                                               Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,                Stockbroker
                                                                                                                               Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                   Commodity Broker
                                                                       Clearing Bank
                                                                       Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                              Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                             (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                       Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                          under Title 26 of the United States                    "incurred by an individual primarily for
                                                                       Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                       Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                         Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                      Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must                Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                      Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                      are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                                 Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                     A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                      Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                      in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                       THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-          1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999           5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001      $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1         to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million       million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001      $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1         to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million       million      million        million       million
                 Case 13-30494                 Doc 1          Filed 07/31/13 Entered 07/31/13 11:51:52                                       Desc Main
B1 (Official Form 1)(04/13)
                                                                Document     Page 2 of 71                                                                                  Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Ludeman, Garth H.
(This page must be completed and filed in every case)                                  Ludeman, Megan R.
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Joseph P. Doyle                                      July 29, 2013
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Joseph P. Doyle 6277393

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                  Document     Page 3 of 71                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Ludeman, Garth H.
(This page must be completed and filed in every case)                                       Ludeman, Megan R.
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Garth H. Ludeman                                                                 X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Garth H. Ludeman

 X    /s/ Megan R. Ludeman                                                                     Printed Name of Foreign Representative
     Signature of Joint Debtor Megan R. Ludeman
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     July 29, 2013
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Joseph P. Doyle
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Joseph P. Doyle 6277393                                                                  debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Law Office of Joseph P. Doyle LLC
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      105 S. Roselle Road, Suite 203
      Schaumburg, IL 60193                                                                     Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                                Email: joe@fightbills.com
      847-985-1100 Fax: 847-985-1126
     Telephone Number
     July 29, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
           Garth H. Ludeman
 In re     Megan R. Ludeman                                                                       Case No.
                                                                               Debtor(s)          Chapter    7



                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 14 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                            Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

            I certify under penalty of perjury that the information provided above is true and correct.

                                                   Signature of Debtor:          /s/ Garth H. Ludeman
                                                                                 Garth H. Ludeman
                                                   Date:         July 29, 2013




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B 1D (Official Form 1, Exhibit D) (12/09)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
           Garth H. Ludeman
 In re     Megan R. Ludeman                                                                       Case No.
                                                                               Debtor(s)          Chapter    7



                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                 CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 14 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                            Page 2



          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

            I certify under penalty of perjury that the information provided above is true and correct.

                                                   Signature of Debtor:          /s/ Megan R. Ludeman
                                                                                 Megan R. Ludeman
                                                   Date:         July 29, 2013




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                           United States Bankruptcy Court
                                                                   Northern District of Illinois
 In re          Garth H. Ludeman,                                                                          Case No.
                Megan R. Ludeman
                                                                                                    ,
                                                                                   Debtors                 Chapter                       7




                                                              SUMMARY OF SCHEDULES
    Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
    B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
    Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
    also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




             NAME OF SCHEDULE                          ATTACHED          NO. OF        ASSETS                 LIABILITIES                 OTHER
                                                        (YES/NO)         SHEETS

A - Real Property                                         Yes             1                         0.00


B - Personal Property                                     Yes             3                  27,993.00


C - Property Claimed as Exempt                            Yes             1


D - Creditors Holding Secured Claims                      Yes             1                                           13,667.00


E - Creditors Holding Unsecured                           Yes             2                                                0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                           Yes             22                                          67,523.00
    Nonpriority Claims

G - Executory Contracts and                               Yes             1
   Unexpired Leases

H - Codebtors                                             Yes             1


I - Current Income of Individual                          Yes             1                                                                       3,782.00
    Debtor(s)

J - Current Expenditures of Individual                    Yes             2                                                                       3,717.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                35


                                                                    Total Assets             27,993.00


                                                                                     Total Liabilities                81,190.00




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Form 6 - Statistical Summary (12/07)


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                                                           United States Bankruptcy Court
                                                                   Northern District of Illinois
 In re           Garth H. Ludeman,                                                                                   Case No.
                 Megan R. Ludeman
                                                                                                          ,
                                                                                       Debtors                       Chapter               7


              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
         If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
         a case under chapter 7, 11 or 13, you must report all information requested below.

                  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                  report any information here.

         This information is for statistical purposes only under 28 U.S.C. § 159.
         Summarize the following types of liabilities, as reported in the Schedules, and total them.


             Type of Liability                                                                   Amount

             Domestic Support Obligations (from Schedule E)                                                       0.00

             Taxes and Certain Other Debts Owed to Governmental Units
             (from Schedule E)
                                                                                                                  0.00

             Claims for Death or Personal Injury While Debtor Was Intoxicated
             (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

             Student Loan Obligations (from Schedule F)                                                   13,395.00

             Domestic Support, Separation Agreement, and Divorce Decree
             Obligations Not Reported on Schedule E
                                                                                                                  0.00

             Obligations to Pension or Profit-Sharing, and Other Similar Obligations
             (from Schedule F)
                                                                                                                  0.00

                                                                            TOTAL                         13,395.00


             State the following:

             Average Income (from Schedule I, Line 16)                                                        3,782.00

             Average Expenses (from Schedule J, Line 18)                                                      3,717.00

             Current Monthly Income (from Form 22A Line 12; OR,
             Form 22B Line 11; OR, Form 22C Line 20 )                                                         6,422.49


             State the following:
             1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                 column
                                                                                                                                     795.00

             2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                 column
                                                                                                                  0.00

             3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                 PRIORITY, IF ANY" column
                                                                                                                                         0.00

             4. Total from Schedule F                                                                                              67,523.00

             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                          68,318.00




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 In re         Garth H. Ludeman,                                                                          Case No.
               Megan R. Ludeman
                                                                                                 ,
                                                                                   Debtors
                                                         SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption




                      None




                                                                                                 Sub-Total >                  0.00         (Total of this page)

                                                                                                      Total >                 0.00
  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
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 In re         Garth H. Ludeman,                                                                                 Case No.
               Megan R. Ludeman
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                    X

2.    Checking, savings or other financial                Checking account with Wells Fargo                                 H                           150.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                  Savings account with Wells Fargo                                  -                              0.00
      thrift, building and loan, and
      homestead associations, or credit                   Checking account with U.S. Bank                                   J                           130.00
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    Miscellaneous used household goods and                            -                           600.00
      including audio, video, and                         furnishings
      computer equipment.

5.    Books, pictures and other art                       Books, Pictures, and CD's                                         -                           115.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Wearing Apparel                                                   -                           800.00

7.    Furs and jewelry.                                   Miscellaneous Costume Jewelry                                     -                           115.00

8.    Firearms and sports, photographic,              X
      and other hobby equipment.

9.    Interests in insurance policies.                    Term Life Insurance policy through employer - (No                 -                              0.00
      Name insurance company of each                      cash surrender value)
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >            1,910.00
                                                                                                                (Total of this page)

  2    continuation sheets attached to the Schedule of Personal Property

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 In re         Garth H. Ludeman,                                                                                 Case No.
               Megan R. Ludeman
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    401(k) / Retirement plan through employer - 100%                  J                      13,000.00
    other pension or profit sharing                       exempt.
    plans. Give particulars.

13. Stock and interests in incorporated                   C-Debtor not incorporated operated a babysitting                  J                              0.00
    and unincorporated businesses.                        business in the year of 2012 only but was unable to
    Itemize.                                              do it this year as she has been sick.

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                 Estimated 2012 tax refund of $2,383.00 was                        J                              0.00
    including tax refunds. Give particulars.              received before filing (03/2013) and spent on
                                                          ordinary and necessary living expenses.

19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     Co-Debtor has a pending social security disability                J                      Unknown
    claims of every nature, including                     case - Filed October 2012
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                            Sub-Total >          13,000.00
                                                                                                                (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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 In re         Garth H. Ludeman,                                                                                 Case No.
               Megan R. Ludeman
                                                                                                     ,
                                                                                    Debtors
                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    Automobile - 2008 Chevrolet Aveo with 61,000 in                    -                       5,952.00
    other vehicles and accessories.                       mileage - Current/Reaffirm - Full Coverage Auto
                                                          Insurance

                                                          Automobile - 2007 Chevrolet Malibu with 65,000 in                  -                       6,981.00
                                                          mileage - Current/Reaffirm - Full Coverage Auto
                                                          Insurance

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.

30. Inventory.                                        X

31. Animals.                                              Animals - Six Cats and One Turtle                                  J                          150.00

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.



                                                                                                                            Sub-Total >          13,083.00
                                                                                                                (Total of this page)
                                                                                                                                 Total >         27,993.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
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  In re         Garth H. Ludeman,                                                                                      Case No.
                Megan R. Ludeman
                                                                                                           ,
                                                                                       Debtors
                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                          Value of                 Current Value of
                  Description of Property                                         Each Exemption                              Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking account with Wells Fargo                 735 ILCS 5/12-1001(b)                                                                150.00                            150.00

Checking account with U.S. Bank                                           735 ILCS 5/12-1001(b)                                        130.00                            130.00

Household Goods and Furnishings
Miscellaneous used household goods and                                    735 ILCS 5/12-1001(b)                                        600.00                            600.00
furnishings

Books, Pictures and Other Art Objects; Collectibles
Books, Pictures, and CD's                           735 ILCS 5/12-1001(b)                                                              115.00                            115.00

Wearing Apparel
Wearing Apparel                                                           735 ILCS 5/12-1001(a)                                        800.00                            800.00

Furs and Jewelry
Miscellaneous Costume Jewelry                                             735 ILCS 5/12-1001(b)                                        115.00                            115.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
401(k) / Retirement plan through employer -         735 ILCS 5/12-704                                                                    100%                       13,000.00
100% exempt.

Other Contingent and Unliquidated Claims of Every Nature
Co-Debtor has a pending social security           735 ILCS 5/12-1001(g)(1)                                                               100%                       Unknown
disability case - Filed October 2012

Automobiles, Trucks, Trailers, and Other Vehicles
Automobile - 2008 Chevrolet Aveo with 61,000                              735 ILCS 5/12-1001(c)                                      2,400.00                         5,952.00
in mileage - Current/Reaffirm - Full Coverage
Auto Insurance

Automobile - 2007 Chevrolet Malibu with 65,000                            735 ILCS 5/12-1001(c)                                      2,400.00                         6,981.00
in mileage - Current/Reaffirm - Full Coverage
Auto Insurance

Animals
Animals - Six Cats and One Turtle                                         735 ILCS 5/12-1001(b)                                        150.00                            150.00




                                                                                                           Total:                  19,860.00                        27,993.00
    0     continuation sheets attached to Schedule of Property Claimed as Exempt
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  In re         Garth H. Ludeman,                                                                                         Case No.
                Megan R. Ludeman
                                                                                                             ,
                                                                                             Debtors
                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W           NATURE OF LIEN, AND                           I    Q   U                             PORTION, IF
                                                        T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                          SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No. xxxxxxxx0604                                        Opened 2/12/11 Last Active 7/01/13                         E
                                                                                                                           D

Ally Financial                                                  Purchase Money Security
200 Renaissance Ctr
                                                              Automobile - 2008 Chevrolet Aveo with
Detroit, MI 48243
                                                            H 61,000 in mileage - Current/Reaffirm -
                                                              Full Coverage Auto Insurance
                                                                Value $                                5,952.00                            5,891.00                        0.00
Account No. xxx6018                                             Opened 1/09/10 Last Active 6/01/13
                                                                Purchase Money Security
Carmax Auto Finance
                                                              Automobile - 2007 Chevrolet Malibu
2040 Thalbro St
                                                              with 65,000 in mileage -
Richmond, VA 23230
                                                            J Current/Reaffirm - Full Coverage Auto
                                                              Insurance
                                                                Value $                                6,981.00                            7,776.00                    795.00
Account No.




                                                                Value $
Account No.




                                                                Value $
                                                                                                                   Subtotal
 0
_____ continuation sheets attached                                                                                                        13,667.00                    795.00
                                                                                                          (Total of this page)
                                                                                                                     Total                13,667.00                    795.00
                                                                                           (Report on Summary of Schedules)

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 In re         Garth H. Ludeman,                                                                                                  Case No.
               Megan R. Ludeman
                                                                                                                     ,
                                                                                               Debtors
                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                            1         continuation sheets attached
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  In re         Garth H. Ludeman,                                                                                        Case No.
                Megan R. Ludeman
                                                                                                            ,
                                                                                             Debtors
                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                                                                     Domestic Support Obligations
                                                                                                                                  TYPE OF PRIORITY
                                                        C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                            O                                                            O    N   I                      AMOUNT NOT
                                                        D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                           E   H         DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                          B   W
                                                                    AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                     OF CLAIM
          AND ACCOUNT NUMBER                            T   J                                                        N    U   T                                AMOUNT
                                                        O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                        R   C                                                        E    D   D
                                                                                                                     N    A
                                                                                                                                                               PRIORITY
                                                                                                                     T    T
Account No. xxxxxxx9041                                         Opened 1/11/10 Last Active 6/27/13                        E
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Child Support Enforcem                                          Child Support
Po Box 15406                                                                                                                                         0.00
Salem, OR 97309
                                                            H

                                                                                                                                             0.00                    0.00
Account No. xxx-xx-7331                                         2013

Jennifer Nelson                                                 Domestic support obligations
63160 Deschutes Road                                                                                                                                 0.00
Bend, OR 97701
                                                            J

                                                                                                                                             0.00                    0.00
Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                             Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                  (Total of this page)                0.00                    0.00
                                                                                                                     Total                           0.00
                                                                                           (Report on Summary of Schedules)                  0.00                    0.00

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  In re         Garth H. Ludeman,                                                                                        Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors

               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No. xx6816                                                            2013                                                          T   T
                                                                                                                                                E
                                                                              Medical                                                           D

ACC International
919 Estates Court                                                         J
Schaumburg, IL 60193-4427

                                                                                                                                                                         150.00
Account No. x0506                                                             Opened 4/11/12 Last Active 3/01/12
                                                                              Collection Attorney Noble Dental Associa
Activity Collection Se
664 N Milwaukee Ave                                                       W
Prospect Heights, IL 60070

                                                                                                                                                                         250.00
Account No. xxxxxxx32-01                                                      2013
                                                                              Collection for AT&T
AFNI
PO Box 3517                                                               J
Bloomington, IL 61702-3517

                                                                                                                                                                         118.00
Account No. xxxxxxxA380                                                       2012
                                                                              Medical
Alexian Brothers
3040 Salt Creek Lane                                                      J
Arlington Heights, IL 60005

                                                                                                                                                                           20.00

                                                                                                                                        Subtotal
 21 continuation sheets attached
_____                                                                                                                                                                    538.00
                                                                                                                              (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xx2148                                                            2013                                                    E
                                                                              Medical                                                 D

Alexian Brothers Behavioral Health
1650 Moon Lake Blvd.                                                      J
Hoffman Estates, IL 60169

                                                                                                                                                              30.00
Account No. xxxxxx6768                                                        2011
                                                                              Medical
Alexian Brothers Medical Group
3040 W Salt Creek Lane                                                    J
Arlington Heights, IL 60005-1069

                                                                                                                                                              20.00
Account No. xxx-xx-7331                                                       2012
                                                                              Medical
Alexian Brothers St. Alexius
1555 Barrington Road                                                      J
Schaumburg, IL 60194

                                                                                                                                                          4,155.00
Account No. xxxx2006                                                          2013
                                                                              Notice only collection Capital One
Alliance Receivables Management
PO Box 3111                                                               J
Southeastern, PA 19398-3111

                                                                                                                                                                0.00
Account No. xx6640                                                            Opened 7/05/07 Last Active 2/01/07
                                                                              Collection Attorney Barrington Orthopedi
American Collections
919 Estes Ct                                                              W
Schaumburg, IL 60193

                                                                                                                                                          1,701.00

           1
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          5,906.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xx812-G                                                           2011                                                    E
                                                                              Medical                                                 D

Arlington Ridge Pathology
520 E 22nd St                                                             J
Lombard, IL 60148

                                                                                                                                                            186.00
Account No. xxxx3186                                                          2013
                                                                              Notice only collection Chase Bank
ARS National Services
960 S. Andersen Drive, Suite B                                            J                                                               X
Escondido, CA 92029

                                                                                                                                                                0.00
Account No. xxx6739                                                           Opened 12/13/12 Last Active 3/01/12
                                                                              Collection Attorney Alexian Brothers Spe
Atg Credit
1700 W Cortland St Ste 2                                                  W
Chicago, IL 60622

                                                                                                                                                              20.00
Account No. x4878                                                             2013
                                                                              Medical
Athletico
709 Enterprise Drive                                                      J
Oak Brook, IL 60523-8814

                                                                                                                                                              67.00
Account No. xxxx xx xx5744                                                    2008
                                                                              Notice only attorney for Arrow Finance
Blatt, Hasenmiller, Leibsker, Moore
125 South Wacker Dr                                                       W
Suite 400
Chicago, IL 60606-4440
                                                                                                                                                                0.00

           2
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                            273.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx xx xx9343                                                    2007                                                    E
                                                                              Notice only attorney for Atlantic Credit                D

Blitt and Gaines PC
Attn: Bankruptcy Dept.                                                    J
661 Glenn Ave
Wheeling, IL 60090
                                                                                                                                                                0.00
Account No. xxxxx9926                                                         2011
                                                                              Medical
Burlington Orthopedic Specialist
1124 Paysphere cir.                                                       J
Chicago, IL 60674

                                                                                                                                                            612.00
Account No. xxxxxxxxxxxx5805                                                  Opened 2/28/11 Last Active 4/01/12
                                                                              Credit Card
Cap One
Po Box 85520                                                              H
Richmond, VA 23285

                                                                                                                                                            790.00
Account No. xxxxxxxxxxxx0833                                                  Opened 3/01/11 Last Active 4/01/12
                                                                              Credit Card
Cap One
Po Box 85520                                                              W
Richmond, VA 23285

                                                                                                                                                            569.00
Account No. xxx-xx-7331                                                       2012
                                                                              Notice only
Capital Management Services, LP
726 Exchange Street                                                       J
Suite 700
Buffalo, NY 14210
                                                                                                                                                                0.00

           3
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          1,971.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx7724                                                          2012                                                    E
                                                                              Medical                                                 D

Cardio Vascular Associates
900 Frontage Rd                                                           J
Suite 325
Carol Stream, IL 60197-5940
                                                                                                                                                              20.00
Account No. xxx-xx-7331                                                       2012
                                                                              Notice only
CBCS
236 East Town Street                                                      J
Columbus, OH 43215

                                                                                                                                                                0.00
Account No. x9841                                                             Opened 2/07/11 Last Active 5/19/11
                                                                              Collection Attorney Steven B Abern Md Sc
Certified Services Inc
1733 Washington St Ste 2                                                  W
Waukegan, IL 60085

                                                                                                                                                            556.00
Account No. xxxxxxxxxxxx3172                                                  Opened 6/08/06 Last Active 3/05/12
                                                                              Charge Account
Chase
Po Box 15298                                                              H
Wilmington, DE 19850

                                                                                                                                                          3,242.00
Account No. xxx-xx-7331                                                       2012
                                                                              overdraft on bank account
Chase Bank
200 S Roselle Rd                                                          J
Schaumburg, IL 60193

                                                                                                                                                            300.00

           4
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          4,118.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                       C   U   D
                  CREDITOR'S NAME,                                   O                                                             O   N   I
                  MAILING ADDRESS                                    D    H                                                        N   L   S
                INCLUDING ZIP CODE,
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                             E   D   D
                                                                                                                                   N   A
                                                                                                                                   T   T
Account No. xxx-xx-7331                                                       2012                                                     E
                                                                              notice only                                              D

ChexSystems                                                                   collecting for Chase Bank
ATTN: Bankruptcy Department                                               J
7805 Hudson Rd. Suite 100
Woodbury, MN 55125
                                                                                                                                                                 0.00
Account No. xxxxxxxxxxxx1099                                                  2012

Comcast
ATTN: Bankruptcy Department                                               J
PO Box 3002
Southeastern, PA 19398
                                                                                                                                                             366.00
Account No. xxxxxxxx8354                                                      2011
                                                                              Notice only collection for St. Alexius
Computer Credit, Inc
640 West Fourth St                                                        J
PO Box 5238
Winston Salem, NC 27113-5238
                                                                                                                                                                 0.00
Account No. xxx9003                                                           2012
                                                                              Notice only collection for Allied Waste -
Credit Managment Company                                                      Melrose Park
PO Box 16346                                                              J
Pittsburgh, PA 15242-0346

                                                                                                                                                             115.00
Account No. xxxxxxxx3670                                                      2013
                                                                              Notice only collection Comcast
Credit Protection Association
13355 Noel Road                                                           J
Dallas, TX 75240

                                                                                                                                                                 0.00

           5
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                         Subtotal
                                                                                                                                                             481.00
Creditors Holding Unsecured Nonpriority Claims                                                                         (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxxxxxxxxx1228                                           Opened 12/28/09 Last Active 6/28/13                     E
                                                                              Employment                                              D

Dept Of Ed/Sallie Mae
11100 Usa Pkwy                                                            H
Fishers, IN 46037

                                                                                                                                                          2,654.00
Account No. xxxxxxxxxxxxxxxxxxx0907                                           Opened 9/07/11 Last Active 6/28/13
                                                                              Employment
Dept Of Ed/Sallie Mae
11100 Usa Pkwy                                                            H
Fishers, IN 46037

                                                                                                                                                          1,717.00
Account No. xxxxxxxxxxxx6379                                                  Opened 7/19/06 Last Active 3/15/12
                                                                              Credit Card
Discover Fin Svcs Llc
Po Box 15316                                                              H
Wilmington, DE 19850

                                                                                                                                                          2,953.00
Account No. x6407                                                             2012
                                                                              Medical
Dr. Robert Christopher
1000 Grand Canyon Pkwy                                                    J
Hoffman Estates, IL 60169

                                                                                                                                                          2,197.00
Account No. xxx-xx-7331                                                       2013
                                                                              Notice only
EIS Collections
PO Box 1730                                                               J
Reynoldsburg, OH 43068

                                                                                                                                                                0.00

           6
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          9,521.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx xxxx xx4967                                                  2012                                                    E
                                                                              Medical                                                 D

Elk Grove Cardiology Associates
520 E 22nd St                                                             J
Lombard, IL 60148

                                                                                                                                                              20.00
Account No. xx-xxxx1213                                                       2011
                                                                              Medical
Elk Grove Radioligy
75 Remittance Dr                                                          J
Suite 6500
Chicago, IL 60675-6500
                                                                                                                                                          1,381.00
Account No. xxxx7036                                                          Opened 10/10/12 Last Active 10/01/11
                                                                              Collection Attorney Comcast Cable Commun
Enhanced Recovery Co L
8014 Bayberry Rd                                                          W
Jacksonville, FL 32256

                                                                                                                                                            366.00
Account No. xxx4273                                                           2011
                                                                              Notice only collection for Northwest
First Source Financial Solutions                                              Community
7650 Magna Dr                                                             J
Belleville, IL 62223

                                                                                                                                                                0.00
Account No. xxx-xx-7331                                                       2010
                                                                              Notice only
FMA Alliance
11811 N. Freeway                                                          J
Suite 900
Houston, TX 77060
                                                                                                                                                                0.00

           7
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          1,767.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xx5612                                                            2011                                                    E
                                                                              Medical                                                 D

G. Leone M.D.S.C
3060 N. Arlington Heights Rd.                                             J
Arlington Heights, IL 60004

                                                                                                                                                            339.00
Account No. xxxx4164                                                          Opened 5/04/12 Last Active 9/01/10
                                                                              Collection Attorney Northwest Community
Harris & Harris Ltd
111 W Jackson Blvd S-400                                                  W
Chicago, IL 60604

                                                                                                                                                          4,866.00
Account No. xxxx2701                                                          Opened 10/24/12 Last Active 10/01/11
                                                                              Collection Attorney Northwest Community
Harris & Harris Ltd
111 W Jackson Blvd S-400                                                  W
Chicago, IL 60604

                                                                                                                                                          1,129.00
Account No. xxxx6699                                                          Opened 11/21/12 Last Active 10/01/11
                                                                              Collection Attorney Northwest Community
Harris & Harris Ltd
111 W Jackson Blvd S-400                                                  W
Chicago, IL 60604

                                                                                                                                                              93.00
Account No. xxxx8893                                                          Opened 9/19/12 Last Active 8/01/11
                                                                              Collection Attorney Northwest Community
Harris & Harris Ltd
111 W Jackson Blvd S-400                                                  W
Chicago, IL 60604

                                                                                                                                                              50.00

           8
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                          6,477.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx6694                                                          Opened 4/01/13 Last Active 3/01/12                      E
                                                                              Collection Attorney Northwest Community                 D

Harris & Harris Ltd
111 W Jackson Blvd S-400                                                  W
Chicago, IL 60604

                                                                                                                                                              50.00
Account No. xx8234                                                            2013
                                                                              Medical
Hoopeston Comm Memorial Hosp
701 E orange St.                                                          J
Hoopeston, IL 60942-1801

                                                                                                                                                              75.00
Account No. xxxx6757                                                          2012
                                                                              Notice only collection for Elk Grove
ICS
P.O. Box 1010                                                             J
Tinley Park, IL 60477-9110

                                                                                                                                                                0.00
Account No. x0502                                                             2012
                                                                              Medical
Integrative Pain Medicine
80 West Hillcrest Blvd                                                    J
Suite 208
Schaumburg, IL 60195
                                                                                                                                                              30.00
Account No. xx6497                                                            2013
                                                                              Medical
J.C. Christensen & Accoc.
PO Box 519                                                                J
Sauk Rapids, MN 56379

                                                                                                                                                              20.00

           9
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                        Subtotal
                                                                                                                                                            175.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                       C   U   D
                  CREDITOR'S NAME,                                   O                                                             O   N   I
                  MAILING ADDRESS                                    D    H                                                        N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM              N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.              G   I   E
                 (See instructions above.)                           R                                                             E   D   D
                                                                                                                                   N   A
                                                                                                                                   T   T
Account No. xxx-xx-7331                                                       2013                                                     E
                                                                                                                                       D

Kohl's Payment Center
PO Box 2983                                                               J
Milwaukee, WI 53201-2983

                                                                                                                                                             659.00
Account No. xxxxx9276                                                         2012
                                                                              Notice only colletion for Chase
LTD Financial Services
7322 Southwest Freeway, Suite 1600                                        J
Houston, TX 77074

                                                                                                                                                                 0.00
Account No. xxxxxxxxxxxx9808                                                  Opened 8/27/08 Last Active 8/01/07
                                                                              Factoring Company Account Citibank South
Lvnv Funding Llc                                                              Dako
Po Box 10497                                                              H
Greenville, SC 29603

                                                                                                                                                           5,554.00
Account No. xxxxxxxxx5174                                                     2013
                                                                              Notice only collection for St. Alexius
Malcolm Gerald & Associates
322 S Michigan Ave                                                        J
Suite 600
Chicago, IL 60604
                                                                                                                                                                 0.00
Account No. 9015                                                              2013
                                                                              Medical
Mark Dublin
PO Box 5075                                                               J
Buffalo Grove, IL 60089

                                                                                                                                                               58.00

           10 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                             Subtotal
                                                                                                                                                           6,271.00
Creditors Holding Unsecured Nonpriority Claims                                                                         (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx0073                                                          2013                                                    E
                                                                              Medical                                                 D

Medical Center Anesthesia
Attn: Bankruptcy Dept.                                                    J
185 Penny Ave.
Dundee, IL 60118
                                                                                                                                                              40.00
Account No. xxx6328                                                           2013
                                                                              Notice only collection for Superior Air Ground
Medical Recovery Specialists
2250 E Devon Ave                                                          J
Suite 352
Des Plaines, IL 60018
                                                                                                                                                                0.00
Account No. xxxxx9051                                                         2013
                                                                              Notice only collection Citi Bank
Midland Credit Management
8875 Aero Dr.                                                             J
Suite 200
San Diego, CA 92123
                                                                                                                                                                0.00
Account No. xxxxxxxx6153                                                      Opened 6/02/10 Last Active 5/18/11
                                                                              Collection Attorney Proactive Behavioral
Midstate Collection So
Po Box 3292                                                               W
Champaign, IL 61826

                                                                                                                                                          1,464.00
Account No. xxxxxxxx0626                                                      Opened 4/08/11
                                                                              Collection Attorney Proactive Behavioral
Midstate Collection So
Po Box 3292                                                               W
Champaign, IL 61826

                                                                                                                                                            534.00

           11 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          2,038.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxx0668                                                      Opened 4/08/11                                          E
                                                                              Collection Attorney Proactive Behavioral                D

Midstate Collection So
Po Box 3292                                                               W
Champaign, IL 61826

                                                                                                                                                            372.00
Account No. xxxxxxxx7890                                                      Opened 2/15/11
                                                                              Collection Attorney Proactive Behavioral
Midstate Collection So
Po Box 3292                                                               W
Champaign, IL 61826

                                                                                                                                                            272.00
Account No. x1726                                                             2011
                                                                              Medical
Midwest Chirdren's Heart Spec
1555 N. Barrington                                                        J
Suite 430
Hoffman Estates, IL 60169
                                                                                                                                                              40.00
Account No. xxx4925                                                           Opened 6/06/11
                                                                              Collection Med1 02 Northwest Co
Miramedrg
991 Oak Creek Dr                                                          W
Lombard, IL 60148

                                                                                                                                                              99.00
Account No. xxG132                                                            2013
                                                                              Medical
NCO Financial
PO Box 15372                                                              J
Wilmington, DE 19850

                                                                                                                                                            611.00

           12 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          1,394.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




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                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx xxxx x727 G                                                  2011                                                    E
                                                                              Medical                                                 D

Neopath S.C.
520 E. 22nd St                                                            J
Lombard, IL 60148

                                                                                                                                                            253.00
Account No. xxxx xxxx x727 g                                                  2013
                                                                              Medical
Neopath S.C.
520 E 22nd St                                                             J
Lombard, IL 60148

                                                                                                                                                            253.00
Account No. xx0005                                                            2012
                                                                              Medical
Nobel Dental Associates
990 Grand Canyon Pkwy                                                     J
Suite 110
Hoffman Estates, IL 60169
                                                                                                                                                            250.00
Account No. xxxx8616                                                          2010
                                                                              Medical
North Community Hospital
PO Box 945698                                                             J
Chicago, IL 60694

                                                                                                                                                          1,756.00
Account No. xxxxx0997                                                         2011
                                                                              Notice only collection for Discover
Northland Group, Inc.
P. O. Box 390846                                                          J
Minneapolis, MN 55439

                                                                                                                                                                0.00

           13 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          2,512.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                    Case 13-30494                  Doc 1         Filed 07/31/13 Entered 07/31/13 11:51:52                          Desc Main
                                                                  Document     Page 32 of 71
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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. 4338                                                              2009                                                    E
                                                                              Notice only collection Discover                         D

Northstar Location Serv
4285 Genesee St                                                           J
Cheektowaga, NY 14225

                                                                                                                                                                0.00
Account No. Jacob Smith                                                       2012
                                                                              Notice only collection for Palatine Finance
Northwest Collectors Inc                                                      Dept.
3601 Algonquin Rd Suite 232                                               J
Rolling Meadows, IL 60008

                                                                                                                                                                0.00
Account No. xxx x xxxxxx6614                                                  2010
                                                                              Medical
Northwest Radiology Associates, SC
Attn: Bankruptcy Dept.                                                    J
520 E. 22nd St.
Lombard, IL 60148
                                                                                                                                                            294.00
Account No. xxx3020                                                           2013
                                                                              Notice only collection for Alliance Pathology
OAC
PO Box 371100                                                             J
Milwaukee, WI 53237-2200

                                                                                                                                                                0.00
Account No. xxxxxxxx7768                                                      Opened 2/15/13 Last Active 10/01/11
                                                                              Collection Attorney Alexian Brothers Med
Optimum Outcomes Inc
2651 Warrenville Rd Ste                                                   W
Downers Grove, IL 60515

                                                                                                                                                              75.00

           14 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                            369.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                    Case 13-30494                  Doc 1         Filed 07/31/13 Entered 07/31/13 11:51:52                          Desc Main
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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xx2900                                                            2011                                                    E
                                                                              Medical                                                 D

Orthopedic Surgery Specialists
8901 Golf Road, Suite 300                                                 J
Des Plaines, IL 60016

                                                                                                                                                            160.00
Account No. xx-xx7711                                                         2013
                                                                              Medical
Palatine Fire Department
PO Box 457                                                                J
Wheeling, IL 60090

                                                                                                                                                              63.00
Account No. xx6359                                                            2011
                                                                              Medical
Partners in Primary Care
921 N Plum Grove Road                                                     J
Schaumburg, IL 60173-4761

                                                                                                                                                              33.00
Account No. xx xx-xxxxxxxxxx7703                                              Opened 10/22/12 Last Active 4/01/12
                                                                              Factoring Company Account Ge Capital Retail
Portfolio Recvry&Affil                                                        Ba
120 Corporate Blvd Ste 1                                                  H
Norfolk, VA 23502

                                                                                                                                                            677.00
Account No. 243                                                               2012
                                                                              Medical
Premier Pain Specialist
PO Box 464                                                                J
Rutherford, NJ 07070

                                                                                                                                                              38.00

           15 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                            971.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                    Case 13-30494                  Doc 1         Filed 07/31/13 Entered 07/31/13 11:51:52                          Desc Main
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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
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Account No. 492                                                               2011                                                    E
                                                                              Medical                                                 D

Proactive Behavioral Services
26112 W. Indian Trail Rd.                                                 J
Barrington, IL 60010

                                                                                                                                                            905.00
Account No. xxxxxxx903B                                                       2011
                                                                              Medical
Radiological Consultants of WoodSto
Attn: Bankruptcy Dept.                                                    J
9410 Compubill Dr.
Orland Park, IL 60462
                                                                                                                                                              85.00
Account No. xxx-xx-7331                                                       2012
                                                                              Notice only
Richard Boudreau & Associates
6 Mannor Parkway                                                          J
Salem, NH 03079

                                                                                                                                                                0.00
Account No. xxx-xx-7331                                                       2013

Sams Club
PO Box 9001907                                                            J
Louisville, KY 40290

                                                                                                                                                          1,099.00
Account No. xxx-xx-7331                                                       2013

Sears/CBNA
PO Box 6189                                                               J
Sioux Falls, SD 57117

                                                                                                                                                          4,466.00

           16 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          6,555.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                    Case 13-30494                  Doc 1         Filed 07/31/13 Entered 07/31/13 11:51:52                          Desc Main
                                                                  Document     Page 35 of 71
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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. x0996                                                             2012                                                    E
                                                                              Medical                                                 D

SRS, Inc
PO Box 2860                                                               J
Rancho Cordova, CA 95741-2860

                                                                                                                                                            495.00
Account No. 6384                                                              2012
                                                                              Medical
Stand Up MRI of Deerfield
457 Lake Cook rd                                                          J
Deerfield, IL 60015-5202

                                                                                                                                                              50.00
Account No. xxxx0409                                                          Opened 5/05/10 Last Active 10/19/10
                                                                              Collection Attorney Northwest Comm Physi
State Collection Servi
2509 S Stoughton Rd                                                       H
Madison, WI 53716

                                                                                                                                                            613.00
Account No. xxxx0410                                                          Opened 10/07/10 Last Active 10/01/09
                                                                              Collection Attorney Northwest Comm Physi
State Collection Servi
2509 S Stoughton Rd                                                       H
Madison, WI 53716

                                                                                                                                                            370.00
Account No. xxxx3539                                                          Opened 3/22/12 Last Active 8/01/11
                                                                              Collection Attorney Radiology Consultant
State Collection Servi
2509 S Stoughton Rd                                                       W
Madison, WI 53716

                                                                                                                                                              63.00

           17 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          1,591.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                    Case 13-30494                  Doc 1         Filed 07/31/13 Entered 07/31/13 11:51:52                          Desc Main
                                                                  Document     Page 36 of 71
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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
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               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxx903C                                                           2011                                                    E
                                                                              Medical                                                 D

State Collecton Service Inc.
2509 S Stoughton Rd                                                       J
Madison, WI 53716

                                                                                                                                                              64.00
Account No. xxxxxxxxxxxxx1099                                                 2012
                                                                              Notice only collection comcast
Stellar Recovery
1845 U.S. Hwy 93, Suite 310                                               J
Kalispell, MT 59901

                                                                                                                                                                0.00
Account No. xxxxx0205                                                         2010
                                                                              Medical
Stephen A. Vile, MD SC
2101 S. Arlington Heights Road                                            J
Suite 100
Arlington Heights, IL 60005
                                                                                                                                                          1,964.00
Account No. xxxxxx5888                                                        2011
                                                                              Notice only collection University of Phoenix
The CBE Group
131 Tower Park, Ste. 100                                                  J
P. O. Box 2547
Waterloo, IA 50704-2547
                                                                                                                                                                0.00
Account No. xxxx2735                                                          2013
                                                                              Medical
The Pediatric Faculty Foundation
PO Box 4051                                                               J
Carol Stream, IL 60197-4051

                                                                                                                                                            306.00

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Sheet no. _____    21 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          2,334.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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                    Case 13-30494                  Doc 1         Filed 07/31/13 Entered 07/31/13 11:51:52                          Desc Main
                                                                  Document     Page 37 of 71
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  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




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                  CREDITOR'S NAME,                                   O                                                            O   N   I
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                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxx-xxxxxxx4403                                                2010                                                    E
                                                                              Notice only collection Barrington Orthopedic            D

Transworld Systems                                                            Svcs
2235 Mercury                                                              J
Suite 275
Santa Rosa, CA 95407
                                                                                                                                                                0.00
Account No. xxxxxxxxxxxx1900                                                  Opened 10/31/03
                                                                              Student Loan
Un Hea Sc Ed
200 E Roosevelt Ro                                                        W
Lombard, IL 60148

                                                                                                                                                          1,650.00
Account No. xxx-xx-7331                                                       2012
                                                                              Medical
University of Iowa Heath Care
PO Box 14551                                                              J
Des Moines, IA 50306-3551

                                                                                                                                                              20.00
Account No. xxxxxx5888                                                        Opened 9/09/11 Last Active 9/01/11
                                                                              Unsecured
University Of Phoenix
4615 E Elwood St Fl 3                                                     W
Phoenix, AZ 85040

                                                                                                                                                            794.00
Account No. xxxxxx7050                                                        2013
                                                                              Utility
US Cellular
404 Brock Dr                                                              J
Bloomington, IL 61702-3517

                                                                                                                                                            183.00

           19 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          2,647.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Garth H. Ludeman,                                                                                  Case No.
                Megan R. Ludeman
                                                                                                               ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxxxxxx9581                                                  Opened 4/01/11 Last Active 6/01/13                      E
                                                                              Employment                                              D

Us Dept Of Ed/Glelsi
Po Box 7860                                                               W
Madison, WI 53707

                                                                                                                                                          9,024.00
Account No. 4338                                                              2013
                                                                              Notice only collection Discover
Van Ru Credit
8550 Ulmerton Rd                                                          J
Suite 225
Largo, FL 33771-5351
                                                                                                                                                                0.00
Account No. xxxx0190                                                          2010
                                                                              Medical
West Central Anesthesiology Group
PO Box 1123                                                               J
Jackson, MI 49204

                                                                                                                                                              44.00
Account No. xx7724                                                            2012
                                                                              Medical
Wheaton Eye Clinic
2015 N Main Street                                                        J
Wheaton, IL 60187-3152

                                                                                                                                                              20.00
Account No. 1529                                                              2011
                                                                              Medical
William Puga MD & Associate
1644 Colonial Pkwy                                                        J
Palatine, IL 60067-1207

                                                                                                                                                            272.00

           20 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                          9,360.00
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Garth H. Ludeman,                                                                                        Case No.
                Megan R. Ludeman
                                                                                                                ,
                                                                                             Debtors
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)




                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxA002                                                         2012                                                           E
                                                                              Medical                                                        D

Woodfield Ortho Services
20 Executive CT                                                           J
Unit 2
Barrington, IL 60010
                                                                                                                                                                   254.00
Account No.




Account No.




Account No.




Account No.




           21 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                                   Subtotal
                                                                                                                                                                   254.00
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)                67,523.00


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B6G (Official Form 6G) (12/07)


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 In re             Garth H. Ludeman,                                                                           Case No.
                   Megan R. Ludeman
                                                                                                     ,
                                                                                   Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
              of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
              complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
              state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
              disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                 Check this box if debtor has no executory contracts or unexpired leases.
                                                                                     Description of Contract or Lease and Nature of Debtor's Interest.
                  Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                      of Other Parties to Lease or Contract                                 State contract number of any government contract.




      0
                continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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 In re          Garth H. Ludeman,                                                                       Case No.
                Megan R. Ludeman
                                                                                              ,
                                                                             Debtors
                                                              SCHEDULE H - CODEBTORS
        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
    by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
    commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
    Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
    any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
    by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
    state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
    disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
        Check this box if debtor has no codebtors.
                 NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




      0
              continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)
           Garth H. Ludeman
 In re     Megan R. Ludeman                                                                            Case No.
                                                                        Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                 DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Daughter                                                    15
                                             Son                                                         19
Employment:                                          DEBTOR                                                       SPOUSE
Occupation                          Application Developer                                   Housewife
Name of Employer                    Teleformix LLC
How long employed                   6 years
Address of Employer                 250 E. Devon Ave
                                    Itasca, IL 60143
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                 SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       6,150.00       $          0.00
2. Estimate monthly overtime                                                                             $           0.00       $          0.00

3. SUBTOTAL                                                                                              $        6,150.00      $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $        1,297.00      $             0.00
     b. Insurance                                                                                        $          615.00      $             0.00
     c. Union dues                                                                                       $            0.00      $             0.00
     d. Other (Specify):       Child Support                                                             $          750.00      $             0.00
                                                                                                         $            0.00      $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $        2,662.00      $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $        3,488.00      $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $            0.00      $             0.00
8. Income from real property                                                                             $            0.00      $             0.00
9. Interest and dividends                                                                                $            0.00      $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $            0.00      $          294.00
11. Social security or government assistance
(Specify):                                                                                               $            0.00      $             0.00
                                                                                                         $            0.00      $             0.00
12. Pension or retirement income                                                                         $            0.00      $             0.00
13. Other monthly income
(Specify):                                                                                               $            0.00      $             0.00
                                                                                                         $            0.00      $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $            0.00      $          294.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $        3,488.00      $          294.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                         $           3,782.00
                                                                               (Report also on Summary of Schedules and, if applicable, on
                                                                               Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)
          Garth H. Ludeman
 In re    Megan R. Ludeman                                                                  Case No.
                                                                 Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average
monthly expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                1,000.00
 a. Are real estate taxes included?                           Yes               No X
 b. Is property insurance included?                           Yes               No X
2. Utilities:      a. Electricity and heating fuel                                                         $                   58.00
                   b. Water and sewer                                                                      $                    0.00
                   c. Telephone                                                                            $                  180.00
                   d. Other Cable & Internet                                                               $                   95.00
3. Home maintenance (repairs and upkeep)                                                                   $                    0.00
4. Food                                                                                                    $                  600.00
5. Clothing                                                                                                $                  199.00
6. Laundry and dry cleaning                                                                                $                   75.00
7. Medical and dental expenses                                                                             $                  100.00
8. Transportation (not including car payments)                                                             $                  300.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                  100.00
10. Charitable contributions                                                                               $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $                   36.00
                   b. Life                                                                                 $                    0.00
                   c. Health                                                                               $                    0.00
                   d. Auto                                                                                 $                   97.00
                   e. Other                                                                                $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                (Specify)                                                                                  $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                 $                  287.00
                   b. Other Second Auto                                                                    $                  177.00
                   c. Other Studnet Loan                                                                   $                  179.00
14. Alimony, maintenance, and support paid to others                                                       $                    0.00
15. Payments for support of additional dependents not living at your home                                  $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                    0.00
17. Other See Detailed Expense Attachment                                                                  $                  234.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules                        $                3,717.00
and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                       $                3,782.00
b. Average monthly expenses from Line 18 above                                                             $                3,717.00
c. Monthly net income (a. minus b.)                                                                        $                   65.00
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          Garth H. Ludeman
 In re    Megan R. Ludeman                                                 Case No.
                                                        Debtor(s)

                  SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                           Detailed Expense Attachment




Other Expenditures:
Pet food and vet expense                                                              $           120.00
Personal grooming and haircuts                                                        $           110.00
Banking fees, postage, and stamps                                                     $             4.00
Total Other Expenditures                                                              $           234.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
            Garth H. Ludeman
 In re      Megan R. Ludeman                                                                              Case No.
                                                                                   Debtor(s)              Chapter    7



                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                        I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
               37      sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date July 29, 2013                                                    Signature   /s/ Garth H. Ludeman
                                                                                   Garth H. Ludeman
                                                                                   Debtor


 Date July 29, 2013                                                    Signature   /s/ Megan R. Ludeman
                                                                                   Megan R. Ludeman
                                                                                   Joint Debtor

   Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                    18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/13)



                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
             Garth H. Ludeman
 In re       Megan R. Ludeman                                                                                Case No.
                                                                               Debtor(s)                     Chapter       7

                                                   STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.


                                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is
"in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be
"in business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business
    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income
               for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                           SOURCE
                          $36,902.00                       2013 YTD: Debtor Employment Income
                          $63,792.00                       2012: Debtor Employment Income
                          $74,301.00                       2011: Debtor Employment Income
                          $1,209.00                        2012: Wife Business Income




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              2. Income other than from employment or operation of business
      None    State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
              during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
              for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
              joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                        AMOUNT                             SOURCE

              3. Payments to creditors
      None    Complete a. or b., as appropriate, and c.

              a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
              services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
              aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
              payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule
              under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13
              must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
              petition is not filed.)

NAME AND ADDRESS                                                        DATES OF                                                     AMOUNT STILL
   OF CREDITOR                                                          PAYMENTS                           AMOUNT PAID                 OWING

      None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
              immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
              transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
              budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
              transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)

                                                                                                                AMOUNT
                                                                        DATES OF                                 PAID OR
                                                                        PAYMENTS/                              VALUE OF              AMOUNT STILL
NAME AND ADDRESS OF CREDITOR                                            TRANSFERS                             TRANSFERS                OWING

      None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit
              of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
     RELATIONSHIP TO DEBTOR                                             DATE OF PAYMENT                    AMOUNT PAID                 OWING

              4. Suits and administrative proceedings, executions, garnishments and attachments
      None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing
              of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
              spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                        NATURE OF      COURT OR AGENCY                                  STATUS OR
AND CASE NUMBER                                                        PROCEEDING     AND LOCATION                                     DISPOSITION
Atlantic Credit vs. Megan R. Turuc                                     Summons        Circuit Court of Cook County                     Judgment
Case No. 2007 - M1 209343
Arrow Financial vs. Megan R. Ludeman                                   Summons        Circuit Court of Cook County                     Judgment
Case No. 2008 M1 175744

      None    b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
              preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
              property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
              filed.)
  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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NAME AND ADDRESS OF PERSON FOR WHOSE                                                       DESCRIPTION AND VALUE OF
   BENEFIT PROPERTY WAS SEIZED                                         DATE OF SEIZURE            PROPERTY

             5. Repossessions, foreclosures and returns
   None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
             returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
             12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
             the spouses are separated and a joint petition is not filed.)

                                                                 DATE OF REPOSSESSION,
NAME AND ADDRESS OF                                                FORECLOSURE SALE,         DESCRIPTION AND VALUE OF
 CREDITOR OR SELLER                                               TRANSFER OR RETURN                 PROPERTY

             6. Assignments and receiverships
   None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
             this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not
             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                              DATE OF
NAME AND ADDRESS OF ASSIGNEE                                  ASSIGNMENT                     TERMS OF ASSIGNMENT OR SETTLEMENT

   None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
             property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                          NAME AND LOCATION
NAME AND ADDRESS                                               OF COURT                       DATE OF            DESCRIPTION AND VALUE OF
  OF CUSTODIAN                                            CASE TITLE & NUMBER                 ORDER                    PROPERTY

             7. Gifts
   None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
             and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
             aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
             either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

  NAME AND ADDRESS OF                                     RELATIONSHIP TO                                           DESCRIPTION AND
PERSON OR ORGANIZATION                                     DEBTOR, IF ANY                    DATE OF GIFT            VALUE OF GIFT

             8. Losses
   None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
             since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                          DESCRIPTION OF CIRCUMSTANCES AND, IF
DESCRIPTION AND VALUE                                                     LOSS WAS COVERED IN WHOLE OR IN PART
    OF PROPERTY                                                              BY INSURANCE, GIVE PARTICULARS                   DATE OF LOSS




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             9. Payments related to debt counseling or bankruptcy
   None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
             concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year
             immediately preceding the commencement of this case.

                                                                          DATE OF PAYMENT,                              AMOUNT OF MONEY
NAME AND ADDRESS                                                       NAME OF PAYER IF OTHER                       OR DESCRIPTION AND VALUE
    OF PAYEE                                                                THAN DEBTOR                                    OF PROPERTY
Law Offices of Joseph P. Doyle                                         2013                                        $1,150.00
105 S. Roselle Rd.
Suite 203
Schaumburg, IL 60193

             10. Other transfers
   None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
             transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
             filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
             spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF TRANSFEREE,                                                               DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                            DATE                           AND VALUE RECEIVED
Unknown Third Party                                                    06/2012                CoDebtor sold a 2008 Motofino Scooter for
                                                                                              $200.00. the proceeds of which were spent
     Unknown Third Party                                                                      necessary on bills and expenses.

   None      b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
             trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                                                                        AMOUNT OF MONEY OR DESCRIPTION AND
DEVICE                                                                 DATE(S) OF             VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                       TRANSFER(S)            IN PROPERTY

             11. Closed financial accounts
   None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
             otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
             financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
             cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
             must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is
             filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         TYPE OF ACCOUNT, LAST FOUR
                                                                          DIGITS OF ACCOUNT NUMBER,                  AMOUNT AND DATE OF SALE
NAME AND ADDRESS OF INSTITUTION                                         AND AMOUNT OF FINAL BALANCE                          OR CLOSING
Wells Fargo                                                            Checking Account and Savings Account          08/2012
                                                                       - Closed - 08/2012

             12. Safe deposit boxes
   None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
             immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
             depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
             filed.)

                                                      NAMES AND ADDRESSES
NAME AND ADDRESS OF BANK                              OF THOSE WITH ACCESS                     DESCRIPTION                  DATE OF TRANSFER OR
 OR OTHER DEPOSITORY                                  TO BOX OR DEPOSITORY                     OF CONTENTS                   SURRENDER, IF ANY




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             13. Setoffs
   None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                                           DATE OF SETOFF                              AMOUNT OF SETOFF

             14. Property held for another person
   None      List all property owned by another person that the debtor holds or controls.


NAME AND ADDRESS OF OWNER                             DESCRIPTION AND VALUE OF PROPERTY               LOCATION OF PROPERTY

             15. Prior address of debtor
   None      If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
             occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
             address of either spouse.

ADDRESS                                                                NAME USED                                   DATES OF OCCUPANCY
1826 Kingston Ln, Schaumburg, IL 60193                                 Garth H. Ludeman                            11/2008 - 11/2011
                                                                       Megan R. Ludeman

             16. Spouses and Former Spouses
   None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
             Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding
             the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the
             debtor in the community property state.

NAME

             17. Environmental Information.

             For the purpose of this question, the following definitions apply:

             "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
             or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
             to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

             "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned
             or operated by the debtor, including, but not limited to, disposal sites.

             "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
             pollutant, or contaminant or similar term under an Environmental Law

   None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
             liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and,
             if known, the Environmental Law:

                                                      NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                      NOTICE                       LAW

   None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
             Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                      NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
SITE NAME AND ADDRESS                                 GOVERNMENTAL UNIT                      NOTICE                       LAW




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   None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
             the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
             docket number.

NAME AND ADDRESS OF
GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                 STATUS OR DISPOSITION

             18 . Nature, location and name of business
   None      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning
             and ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation,
             partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within
             six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
             equity securities within six years immediately preceding the commencement of this case.

             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within
             six years immediately preceding the commencement of this case.

             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
             ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within
             six years immediately preceding the commencement of this case.

                                LAST FOUR DIGITS OF
                                SOCIAL-SECURITY OR
                                OTHER INDIVIDUAL
                                TAXPAYER-I.D. NO.                                                                              BEGINNING AND
NAME                            (ITIN)/ COMPLETE EIN             ADDRESS                       NATURE OF BUSINESS              ENDING DATES
Co-Debtor - In-Home             not incorporated                 400 S. Braintree Drive        In-Home Daycare                 2006 - 2009
Daycare                                                          Schaumburg, IL 60193

   None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


NAME                                                                   ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

             19. Books, records and financial statements
   None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
             supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS                                                                                        DATES SERVICES RENDERED

   None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
             books of account and records, or prepared a financial statement of the debtor.

NAME                                            ADDRESS                                                 DATES SERVICES RENDERED

   None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
             records of the debtor. If any of the books of account and records are not available, explain.




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NAME                                                                                  ADDRESS

   None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement
             was issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS                                                                              DATE ISSUED

             20. Inventories
   None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
             and the dollar amount and basis of each inventory.

                                                                                                        DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY                               INVENTORY SUPERVISOR                                    (Specify cost, market or other basis)

   None      b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                               NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
DATE OF INVENTORY                                                              RECORDS

             21 . Current Partners, Officers, Directors and Shareholders
   None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


NAME AND ADDRESS                                                       NATURE OF INTEREST                           PERCENTAGE OF INTEREST

   None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
             controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                        NATURE AND PERCENTAGE
NAME AND ADDRESS                                                       TITLE                            OF STOCK OWNERSHIP

             22 . Former partners, officers, directors and shareholders
   None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
             commencement of this case.

NAME                                                      ADDRESS                                                 DATE OF WITHDRAWAL

   None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
             immediately preceding the commencement of this case.

NAME AND ADDRESS                                                       TITLE                            DATE OF TERMINATION

             23 . Withdrawals from a partnership or distributions by a corporation
   None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
             compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately
             preceding the commencement of this case.

NAME & ADDRESS                                                                                                      AMOUNT OF MONEY
OF RECIPIENT,                                                          DATE AND PURPOSE                             OR DESCRIPTION AND
RELATIONSHIP TO DEBTOR                                                 OF WITHDRAWAL                                VALUE OF PROPERTY




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             24. Tax Consolidation Group.
   None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
             group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
             of the case.

NAME OF PARENT CORPORATION                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.
   None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as
             an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND                                                                                      TAXPAYER IDENTIFICATION NUMBER (EIN)

                                                                              ******

                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


Date July 29, 2013                                                     Signature   /s/ Garth H. Ludeman
                                                                                   Garth H. Ludeman
                                                                                   Debtor


Date July 29, 2013                                                     Signature   /s/ Megan R. Ludeman
                                                                                   Megan R. Ludeman
                                                                                   Joint Debtor

                  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
            Garth H. Ludeman
 In re      Megan R. Ludeman                                                                              Case No.
                                                                                  Debtor(s)               Chapter     7


                              CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                  Describe Property Securing Debt:
 Ally Financial                                                                    Automobile - 2008 Chevrolet Aveo with 61,000 in mileage -
                                                                                   Current/Reaffirm - Full Coverage Auto Insurance

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt




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B8 (Form 8) (12/08)                                                                                                                          Page 2
 Property No. 2

 Creditor's Name:                                                                   Describe Property Securing Debt:
 Carmax Auto Finance                                                                Automobile - 2007 Chevrolet Malibu with 65,000 in mileage -
                                                                                    Current/Reaffirm - Full Coverage Auto Insurance

 Property will be (check one):
        Surrendered                                                    Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                             Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                           Describe Leased Property:                       Lease will be Assumed pursuant to 11
 -NONE-                                                                                                   U.S.C. § 365(p)(2):
                                                                                                             YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
and/or personal property subject to an unexpired lease.


 Date July 29, 2013                                                    Signature   /s/ Garth H. Ludeman
                                                                                   Garth H. Ludeman
                                                                                   Debtor


 Date July 29, 2013                                                    Signature   /s/ Megan R. Ludeman
                                                                                   Megan R. Ludeman
                                                                                   Joint Debtor




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                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
             Garth H. Ludeman
 In re       Megan R. Ludeman                                                                                Case No.
                                                                               Debtor(s)                     Chapter      7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                    1,150.00
             Prior to the filing of this statement I have received                                       $                    1,150.00
             Balance Due                                                                                 $                       0.00

2.    The source of the compensation paid to me was:
                 Debtor               Other (specify):

3.    The source of compensation to be paid to me is:
                 Debtor               Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions
              or any other adversary proceeding.
                                                                       CERTIFICATION

     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

Dated:       July 29, 2013                                                    /s/ Joseph P. Doyle
                                                                              Joseph P. Doyle 6277393
                                                                              Law Office of Joseph P. Doyle LLC
                                                                              105 S. Roselle Road, Suite 203
                                                                              Schaumburg, IL 60193
                                                                              847-985-1100 Fax: 847-985-1126
                                                                              joe@fightbills.com




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B 201A (Form 201A) (11/12)



                                                 UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF ILLINOIS
                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                               OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney
General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each
notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that
each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

         In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total Fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some
cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that
the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does,
the purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful
and malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $46
administrative fee: Total fee $281)
           Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments


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Form B 201A, Notice to Consumer Debtor(s)                                                                                       Page 2

over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon
your income and other factors. The court must approve your plan before it can take effect.
          After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured
obligations.

           Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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B 201B (Form 201B) (12/09)
                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
           Garth H. Ludeman
 In re     Megan R. Ludeman                                                                                Case No.
                                                                                 Debtor(s)                 Chapter        7

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                       Certification of Debtor
       I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the
Bankruptcy Code.
Garth H. Ludeman
Megan R. Ludeman                                                                   X /s/ Garth H. Ludeman                        July 29, 2013
Printed Name(s) of Debtor(s)                                                         Signature of Debtor                         Date

Case No. (if known)                                                                X /s/ Megan R. Ludeman                        July 29, 2013
                                                                                     Signature of Joint Debtor (if any)          Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given
the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                          United States Bankruptcy Court
                                                                  Northern District of Illinois
           Garth H. Ludeman
 In re     Megan R. Ludeman                                                                             Case No.
                                                                                  Debtor(s)             Chapter    7




                                                 VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                 98




           The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
           (our) knowledge.




Date: July 29, 2013                                                    /s/ Garth H. Ludeman
                                                                       Garth H. Ludeman
                                                                       Signature of Debtor

Date: July 29, 2013                                                    /s/ Megan R. Ludeman
                                                                       Megan R. Ludeman
                                                                       Signature of Debtor




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                      ACC International
                      919 Estates Court
                      Schaumburg, IL 60193-4427


                      Activity Collection Se
                      664 N Milwaukee Ave
                      Prospect Heights, IL 60070


                      AFNI
                      PO Box 3517
                      Bloomington, IL 61702-3517


                      Alexian Brothers
                      3040 Salt Creek Lane
                      Arlington Heights, IL 60005


                      Alexian Brothers Behavioral Health
                      1650 Moon Lake Blvd.
                      Hoffman Estates, IL 60169


                      Alexian Brothers Medical Group
                      3040 W Salt Creek Lane
                      Arlington Heights, IL 60005-1069


                      Alexian Brothers St. Alexius
                      1555 Barrington Road
                      Schaumburg, IL 60194


                      Alliance Receivables Management
                      PO Box 3111
                      Southeastern, PA 19398-3111


                      Ally Financial
                      200 Renaissance Ctr
                      Detroit, MI 48243


                      American Collections
                      919 Estes Ct
                      Schaumburg, IL 60193


                      Arlington Ridge Pathology
                      520 E 22nd St
                      Lombard, IL 60148
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                  ARS National Services
                  960 S. Andersen Drive, Suite B
                  Escondido, CA 92029


                  Atg Credit
                  1700 W Cortland St Ste 2
                  Chicago, IL 60622


                  Athletico
                  709 Enterprise Drive
                  Oak Brook, IL 60523-8814


                  Blatt, Hasenmiller, Leibsker, Moore
                  125 South Wacker Dr
                  Suite 400
                  Chicago, IL 60606-4440


                  Blitt and Gaines PC
                  Attn: Bankruptcy Dept.
                  661 Glenn Ave
                  Wheeling, IL 60090


                  Burlington Orthopedic        Specialist
                  1124 Paysphere cir.
                  Chicago, IL 60674


                  Cap One
                  Po Box 85520
                  Richmond, VA 23285


                  Capital Management Services, LP
                  726 Exchange Street
                  Suite 700
                  Buffalo, NY 14210


                  Cardio Vascular Associates
                  900 Frontage Rd
                  Suite 325
                  Carol Stream, IL 60197-5940


                  Carmax Auto Finance
                  2040 Thalbro St
                  Richmond, VA 23230
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                  CBCS
                  236 East Town Street
                  Columbus, OH 43215


                  Certified Services Inc
                  1733 Washington St Ste 2
                  Waukegan, IL 60085


                  Chase
                  Po Box 15298
                  Wilmington, DE 19850


                  Chase Bank
                  200 S Roselle Rd
                  Schaumburg, IL 60193


                  ChexSystems
                  ATTN: Bankruptcy Department
                  7805 Hudson Rd. Suite 100
                  Woodbury, MN 55125


                  Child Support Enforcem
                  Po Box 15406
                  Salem, OR 97309


                  Comcast
                  ATTN: Bankruptcy Department
                  PO Box 3002
                  Southeastern, PA 19398


                  Computer Credit, Inc
                  640 West Fourth St
                  PO Box 5238
                  Winston Salem, NC 27113-5238


                  Credit Managment Company
                  PO Box 16346
                  Pittsburgh, PA 15242-0346


                  Credit Protection Association
                  13355 Noel Road
                  Dallas, TX 75240
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                  Dept Of Ed/Sallie Mae
                  11100 Usa Pkwy
                  Fishers, IN 46037


                  Discover Fin Svcs Llc
                  Po Box 15316
                  Wilmington, DE 19850


                  Dr. Robert Christopher
                  1000 Grand Canyon Pkwy
                  Hoffman Estates, IL 60169


                  EIS Collections
                  PO Box 1730
                  Reynoldsburg, OH 43068


                  Elk Grove Cardiology Associates
                  520 E 22nd St
                  Lombard, IL 60148


                  Elk Grove Radioligy
                  75 Remittance Dr
                  Suite 6500
                  Chicago, IL 60675-6500


                  Enhanced Recovery Co L
                  8014 Bayberry Rd
                  Jacksonville, FL 32256


                  First Source Financial Solutions
                  7650 Magna Dr
                  Belleville, IL 62223


                  FMA Alliance
                  11811 N. Freeway
                  Suite 900
                  Houston, TX 77060


                  G. Leone M.D.S.C
                  3060 N. Arlington Heights Rd.
                  Arlington Heights, IL 60004


                  Harris & Harris Ltd
                  111 W Jackson Blvd S-400
                  Chicago, IL 60604
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                  Hoopeston Comm Memorial Hosp
                  701 E orange St.
                  Hoopeston, IL 60942-1801


                  ICS
                  P.O. Box 1010
                  Tinley Park, IL 60477-9110


                  Integrative Pain Medicine
                  80 West Hillcrest Blvd
                  Suite 208
                  Schaumburg, IL 60195


                  J.C. Christensen & Accoc.
                  PO Box 519
                  Sauk Rapids, MN 56379


                  Jennifer Nelson
                  63160 Deschutes Road
                  Bend, OR 97701


                  Kohl's Payment Center
                  PO Box 2983
                  Milwaukee, WI 53201-2983


                  LTD Financial Services
                  7322 Southwest Freeway, Suite 1600
                  Houston, TX 77074


                  Lvnv Funding Llc
                  Po Box 10497
                  Greenville, SC 29603


                  Malcolm Gerald & Associates
                  322 S Michigan Ave
                  Suite 600
                  Chicago, IL 60604


                  Mark Dublin
                  PO Box 5075
                  Buffalo Grove, IL 60089
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                  Medical Center Anesthesia
                  Attn: Bankruptcy Dept.
                  185 Penny Ave.
                  Dundee, IL 60118


                  Medical Recovery Specialists
                  2250 E Devon Ave
                  Suite 352
                  Des Plaines, IL 60018


                  Midland Credit Management
                  8875 Aero Dr.
                  Suite 200
                  San Diego, CA 92123


                  Midstate Collection So
                  Po Box 3292
                  Champaign, IL 61826


                  Midwest Chirdren's Heart Spec
                  1555 N. Barrington
                  Suite 430
                  Hoffman Estates, IL 60169


                  Miramedrg
                  991 Oak Creek Dr
                  Lombard, IL 60148


                  NCO Financial
                  PO Box 15372
                  Wilmington, DE 19850


                  Neopath S.C.
                  520 E. 22nd St
                  Lombard, IL 60148


                  Neopath S.C.
                  520 E 22nd St
                  Lombard, IL 60148


                  Nobel Dental Associates
                  990 Grand Canyon Pkwy
                  Suite 110
                  Hoffman Estates, IL 60169
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                  North Community Hospital
                  PO Box 945698
                  Chicago, IL 60694


                  Northland Group, Inc.
                  P. O. Box 390846
                  Minneapolis, MN 55439


                  Northstar Location Serv
                  4285 Genesee St
                  Cheektowaga, NY 14225


                  Northwest Collectors Inc
                  3601 Algonquin Rd Suite 232
                  Rolling Meadows, IL 60008


                  Northwest Radiology Associates, SC
                  Attn: Bankruptcy Dept.
                  520 E. 22nd St.
                  Lombard, IL 60148


                  OAC
                  PO Box 371100
                  Milwaukee, WI 53237-2200


                  Optimum Outcomes Inc
                  2651 Warrenville Rd Ste
                  Downers Grove, IL 60515


                  Orthopedic Surgery Specialists
                  8901 Golf Road, Suite 300
                  Des Plaines, IL 60016


                  Palatine Fire Department
                  PO Box 457
                  Wheeling, IL 60090


                  Partners in Primary Care
                  921 N Plum Grove Road
                  Schaumburg, IL 60173-4761


                  Portfolio Recvry&Affil
                  120 Corporate Blvd Ste 1
                  Norfolk, VA 23502
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                  Premier Pain Specialist
                  PO Box 464
                  Rutherford, NJ 07070


                  Proactive Behavioral Services
                  26112 W. Indian Trail Rd.
                  Barrington, IL 60010


                  Radiological Consultants of WoodSto
                  Attn: Bankruptcy Dept.
                  9410 Compubill Dr.
                  Orland Park, IL 60462


                  Richard Boudreau & Associates
                  6 Mannor Parkway
                  Salem, NH 03079


                  Sams Club
                  PO Box 9001907
                  Louisville, KY 40290


                  Sears/CBNA
                  PO Box 6189
                  Sioux Falls, SD 57117


                  SRS, Inc
                  PO Box 2860
                  Rancho Cordova, CA 95741-2860


                  Stand Up MRI of Deerfield
                  457 Lake Cook rd
                  Deerfield, IL 60015-5202


                  State Collection Servi
                  2509 S Stoughton Rd
                  Madison, WI 53716


                  State Collecton Service Inc.
                  2509 S Stoughton Rd
                  Madison, WI 53716


                  Stellar Recovery
                  1845 U.S. Hwy 93, Suite 310
                  Kalispell, MT 59901
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                  Stephen A. Vile, MD SC
                  2101 S. Arlington Heights Road
                  Suite 100
                  Arlington Heights, IL 60005


                  The CBE Group
                  131 Tower Park, Ste. 100
                  P. O. Box 2547
                  Waterloo, IA 50704-2547


                  The Pediatric Faculty Foundation
                  PO Box 4051
                  Carol Stream, IL 60197-4051


                  Transworld Systems
                  2235 Mercury
                  Suite 275
                  Santa Rosa, CA 95407


                  Un Hea Sc Ed
                  200 E Roosevelt Ro
                  Lombard, IL 60148


                  University of Iowa Heath Care
                  PO Box 14551
                  Des Moines, IA 50306-3551


                  University Of Phoenix
                  4615 E Elwood St Fl 3
                  Phoenix, AZ 85040


                  US Cellular
                  404 Brock Dr
                  Bloomington, IL 61702-3517


                  Us Dept Of Ed/Glelsi
                  Po Box 7860
                  Madison, WI 53707


                  Van Ru Credit
                  8550 Ulmerton Rd
                  Suite 225
                  Largo, FL 33771-5351
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                  West Central Anesthesiology Group
                  PO Box 1123
                  Jackson, MI 49204


                  Wheaton Eye Clinic
                  2015 N Main Street
                  Wheaton, IL 60187-3152


                  William Puga MD & Associate
                  1644 Colonial Pkwy
                  Palatine, IL 60067-1207


                  Woodfield Ortho Services
                  20 Executive CT
                  Unit 2
                  Barrington, IL 60010
